38 F.3d 1213NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff Appellee,v.Miles Thomas CLARKE, Defendant Appellant.
    No. 94-6306.
    United States Court of Appeals, Fourth Circuit.
    Submitted August 23, 1994.Decided October 14, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., Senior District Judge.  (CR-89-136, CA-94-126)
      Miles Thomas Clarke, Appellant Pro Se.
      Laura Maria Everhart, Asst., U.S. Attt., Norfolk, VA, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before HALL, HAMILTON and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Clarke, Nos.  CR-89-136;  CA-94-126 (E.D. Va.  Mar. 2, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    